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                    UNITED STATES COURT OF APPEALS                      FILED
                           FOR THE NINTH CIRCUIT                         JUL 14 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
FEDERAL TRADE COMMISSION,                      No.    23-15992

                Plaintiff-Appellant,           D.C. No. 3:23-cv-02880-JSC
                                               Northern District of California,
 v.                                            San Francisco

MICROSOFT CORPORATION;                         ORDER
ACTIVISION BLIZZARD, INC.,

                Defendants-Appellees.

Before: RICHARD C. TALLMAN, SANDRA S. IKUTA, and DANIEL P.
        COLLINS, Circuit Judges.

      The motion to file the district court’s preliminary injunction opinion under

seal (Docket Entry No. 20) is granted. See 9th Cir. R. 27-13. The Clerk will

maintain it under seal.

      The motion for injunctive relief (Docket Entry No. 21) is denied. See Fed.

Trade Comm’n v. Warner Commc’ns Inc., 742 F.2d 1156, 1159-60 (9th Cir. 1984)

(defining standard by which the Federal Trade Commission may obtain a

preliminary injunction); see also Feldman v. Ariz. Sec’y of State, 843 F.3d 366,

367 (9th Cir. 2016) (discussing standard for an injunction pending appeal).

      The existing briefing schedule remains in effect.
